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 8                               UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    SYDNEY BROOKE ROBERTS and                    No. 2:22-cv-1699 DJC AC
      DAVID TYRONE SAMUEL,
12
                       Plaintiffs,
13                                                 ORDER
             v.
14
      SACRAMENTO HOUSING AND
15    REDEVELOPMENT AGENCY, et al.,
16                     Defendants.
17

18          Plaintiffs proceed in this action in pro per. The matter was referred to a United

19   States Magistrate Judge pursuant to Local Rule 302(c)(21).

20          On January 14, 2025, the Magistrate Judge filed findings and

21   recommendations herein which were served on the parties and which contained

22   notice that any objections to the findings and recommendations were to be filed

23   within twenty-one days. ECF No. 76. Plaintiffs have filed objections to the findings

24   and recommendations. ECF No. 77. On February 10, 2025 Defendants filed a

25   response to the objections. ECF 78. The Court has considered both filings.

26          The Court has reviewed the file and finds the findings and recommendations to

27   be supported by the record and by the Magistrate Judge’s analysis. Accordingly, IT IS

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 1   HEREBY ORDERED that:

 2          1. The findings and recommendations filed January 14, 2025, are adopted in

 3   full; and

 4          2. Plaintiffs’ motion for summary judgment (ECF No. 67) is DENIED; and

 5          3. This matter is referred back to the Magistrate Judge for all further pretrial

 6   proceedings.

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            IT IS SO ORDERED.
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 9   Dated:      February 27, 2025
                                                   Hon. Daniel J. Calabretta
10                                                 UNITED STATES DISTRICT JUDGE
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